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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 John Doe.
                                            Case No. 2:21-cv-20706
                Plaintiff,

       v.

 Baila Sebrow

                Defendant


             BRIEF OF THE PLAINTIFF IN SUPPORT OF THE MOTION TO
                          REINSTATE THE COMPLAINT



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                                      LEGAL ARGUMENT

                              POINT I
 THE CASE SHOULD BE REINSTATED AND ALLOWED TO PROCEED ON IS MERITS

       This matter was dismissed because of inactivity on the docket for more than 90 days.

Although the Defendant received notice of this action on December 24, 2021, she failed to

participate in the matter. Service of Defendant was completed on April 27, 2022, 10 days prior

to the notice of call being uploaded on the docket.

       Federal Rule of Civil Procedure (“FRCP”) 60(b)(1) provides, in relevant part, that “[o]n

motion and just terms, the court may relieve a party or its legal representative from a final

judgment, order, or proceeding for . . . mistake, inadvertence, surprise, or excusable neglect.”

       When looking at excusable neglect, “the Court considers the totality of the circumstances,

including "the danger of prejudice to the [non-movant], the length of the delay and its potential

impact on judicial proceedings, the reason for the delay, including whether it was within the

reasonable control of the movant, and whether the movant acted in good faith. (Choi v Costco

Wholesale Corp., 2020 US Dist LEXIS 181970, at *4-5 [DNJ Oct. 1, 2020, No. 2:19-cv-17916-

WJM-MF]). Plaintiff’s inactivity was inadvertent, and Plaintiff has not abandoned this matter.

Plaintiff attempted for 4 months to serve Defendant and missed the appearance based on a

calendaring error.

       Additionally, there is a strong public policy for cases to be decided on the merits. In this

case, given that the statute of limitations has expired, Plaintiff will have no other remedy and be

unable to refile this matter. Defendant faces no prejudice as she has refused to participate in this

action after receiving multiple notices. The Plaintiff is also currently engaged in a domestic

violence action in state court against the Defendant based on her actions.




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                                         CONCLUSION

       For all the foregoing reasons, the Plaintiff respectfully requests that the prior Rule 41.1

dismissal be vacated, and the case reinstated.

Dated: New York, New York
       June 16, 2022
                                                      /s/Daniel Szalkiewicz, Esq.
                                                      Daniel S. Szalkiewicz




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